           Case 8:20-bk-00177-CPM           Doc 63    Filed 11/29/21      Page 1 of 5




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 8 TAMPA DIVISION

In re: Xavier C Washington, II               §       Case No. 8:20-bk-00177-CPM
                                             §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Jon M Waage, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 01/09/2020.

       2) The plan was confirmed on 11/04/2020.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on 05/17/2021.

       5) The case was dismissed on 07/01/2021.

       6) Number of months from filing or conversion to last payment: 17.

       7) Number of months case was pending: 22.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $104,164.00.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
            Case 8:20-bk-00177-CPM            Doc 63       Filed 11/29/21    Page 2 of 5




Receipts:
      Total paid by or on behalf of the debtor(s)                $ 55,207.00
      Less amount refunded to debtor(s)                           $ 4,283.90
NET RECEIPTS                                                                          $ 50,923.10



Expenses of Administration:

        Attorney's Fees Paid Through the Plan                     $ 3,146.00
        Court Costs                                                    $ 0.00
        Trustee Expenses & Compensation                           $ 5,240.70
        Other                                                          $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                       $ 8,386.70

Attorney fees paid and disclosed by debtor(s):                    $ 1,654.00



Scheduled Creditors:
Creditor                                           Claim         Claim        Claim    Principal     Interest
Name                                  Class    Scheduled      Asserted     Allowed         Paid         Paid
Avenida de Flores Townhome            Sec       5,000.00      9,167.35     9,167.35    1,199.17         0.00
Bank of America                       Con     296,871.00    314,617.50   316,603.54   32,316.46         0.00
Bank of America                       Sec           0.00          0.00    31,722.07    4,149.52         0.00
United States Treasury                Pri           0.00      1,196.66     1,196.66        0.00         0.00
United States Treasury                Sec      30,000.00     35,321.46    35,321.46    2,835.54     2,035.71
LVNV Funding                          Uns           0.00        390.37       390.37        0.00         0.00
Memorial Hospital of Tampa            Uns           0.00        868.09       868.09        0.00         0.00
Discover Bank                         Uns           0.00        991.79       991.79        0.00         0.00
LVNV Funding                          Uns           0.00     26,329.34    26,329.34        0.00         0.00
PRA Receivables Mgmt., LLC            Uns           0.00        571.34       571.34        0.00         0.00
ECMC                                  Uns           0.00        419.60       419.60        0.00         0.00
Midland Credit Management, In.c       Uns           0.00        602.28       602.28        0.00         0.00
FL Emergency Physicians Kang & Assoc Uns            0.00      1,903.00     1,903.00        0.00         0.00
Atlas Acquisitions LLC                Uns           0.00      1,496.34     1,496.34        0.00         0.00
Bureaus Investment Group Portfolio No Uns           0.00        528.30       528.30        0.00         0.00
ACCOUNT RESOLUTION SERVICES Uns                 1,903.00           NA           NA         0.00         0.00
CAPITAL ONE                           Uns           0.00           NA           NA         0.00         0.00
COMENITY BNAK/EXPRESS                 Uns           0.00           NA           NA         0.00         0.00



UST Form 101-13-FR-S (9/1/2009)
           Case 8:20-bk-00177-CPM         Doc 63      Filed 11/29/21     Page 3 of 5




Scheduled Creditors:
Creditor                                      Claim         Claim         Claim   Principal   Interest
Name                              Class   Scheduled      Asserted      Allowed        Paid       Paid
CREDIT ONE BANK                   Uns          0.00           NA            NA        0.00       0.00
DISCOVER FINANCIAL                Uns        497.00           NA            NA        0.00       0.00
ENHANCED RECOVERY CORP            Uns         96.00           NA            NA        0.00       0.00
EXETER FINANCE CORP               Uns     26,329.00           NA            NA        0.00       0.00
FIRST NAITONAL BANK               Uns          0.00           NA            NA        0.00       0.00
GENESIS BC/CELTIC BANK            Uns          0.00           NA            NA        0.00       0.00
LTD FINANCIAL SERVICES            Uns        780.00           NA            NA        0.00       0.00
LVNV FUNDING                      Uns        386.00           NA            NA        0.00       0.00
MEDI CREDIT CORP                  Uns          0.00           NA            NA        0.00       0.00
STATE DEPARTMENT FCU              Uns      5,060.00           NA            NA        0.00       0.00
SYNCB/BANANA REPUBLIC             Uns          0.00           NA            NA        0.00       0.00
THE BUREAUS INC                   Uns        528.00           NA            NA        0.00       0.00
TRANSWORLD SYS                    Uns      1,786.00           NA            NA        0.00       0.00
Robert M. Geller, Esq.            Lgl          0.00      4,500.00      4,500.00   2,846.00       0.00
Robert M. Geller, Esq.            Lgl          0.00      2,550.00      2,550.00     300.00       0.00




UST Form 101-13-FR-S (9/1/2009)
           Case 8:20-bk-00177-CPM        Doc 63   Filed 11/29/21     Page 4 of 5




Summary of Disbursements to Creditors:

                                             Claim                 Principal       Interest
                                             Allowed               Paid            Paid
Secured Payments:
      Mortgage Ongoing                     $ 317,753.54        $ 32,466.89              $ 0.00
      Mortgage Arrearage                    $ 30,572.07         $ 3,999.09              $ 0.00
      Debt Secured by Vehicle                     $ 0.00             $ 0.00             $ 0.00
      All Other Secured                     $ 44,488.81         $ 4,034.71         $ 2,035.71
TOTAL SECURED:                             $ 392,814.42        $ 40,500.69         $ 2,035.71

Priority Unsecured Payments:
        Domestic Support Arrearage                $ 0.00               $ 0.00          $ 0.00
        Domestic Support Ongoing                  $ 0.00               $ 0.00          $ 0.00
        All Other Priority                   $ 1,196.66                $ 0.00          $ 0.00
TOTAL PRIORITY:                              $ 1,196.66                $ 0.00          $ 0.00

GENERAL UNSECURED PAYMENTS:                 $ 34,100.45                $ 0.00          $ 0.00



Disbursements:

       Expenses of Administration            $ 8,386.70
       Disbursements to Creditors           $ 42,536.40

TOTAL DISBURSEMENTS:                                           $ 50,923.10




UST Form 101-13-FR-S (9/1/2009)
            Case 8:20-bk-00177-CPM             Doc 63     Filed 11/29/21      Page 5 of 5




        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 11/29/2021                        By: /s/ Jon M Waage
                                                 Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
